 Case 1:20-cr-00007-JPJ-PMS Document 3 Filed 02/11/20 Page 1 of 7 Pageid#: 3

                                                                                              FILED
                                                                                             2/11/2020

                                         81,7('67$7(6',675,&7&2857
                                         :(67(51',675,&72)9,5*,1,$
                                                  $%,1*'21

81,7('67$7(62)$0(5,&$        
                                &ULPLQDO1R 1:20CR00007
    Y                         
                               9LRODWLRQV86& D 
$1,0$/+($/7+,17(51$7,21$/,1&    D  DQG I  
                                
         
                          ,1)250$7,21

                                                     ,1752'8&7,21

                   'HIHQGDQW$QLPDO+HDOWK,QWHUQDWLRQDO,QF ³$+,´ LVD&RORUDGRFRUSRUDWLRQ

ZLWKLWVSULQFLSDOSODFHRIEXVLQHVVLQ&RORUDGR$+,LVFRPSULVHGRIWZROHJDF\RUJDQL]DWLRQV

/H[WURQ,QF ³/H[WURQ´ DQG:DOFR,QWHUQDWLRQDO,QF ³:DOFR´ ,Q-XQH/H[WURQ

DFTXLUHGDOORXWVWDQGLQJVWRFNRIWKHSDUHQWFRPSDQ\RI:DOFRDQGFKDQJHGLWVQDPHWR$+,

:DOFRFRQWLQXHGRSHUDWLRQVDVDVXEVLGLDU\RI$+,XQWLO'HFHPEHUZKHQ$QLPDO+HDOWK

+ROGLQJV,QFDQGHDFKRILWVZKROO\RZQHGVXEVLGLDULHVLQFOXGLQJ:DOFRZHUHPHUJHGZLWK

DQGLQWR$+,DQGQRORQJHUKDGVHSDUDWHFRUSRUDWHH[LVWHQFHV$+,DQGLWVSUHGHFHVVRUHQWLWLHV

GLVSHQVHGLVWULEXWHDQGVHOODPRQJRWKHUSURGXFWVYHWHULQDU\SUHVFULSWLRQGUXJVWRFXVWRPHUVLQ

WKHSURGXFWLRQDQLPDOLQGXVWU\DFURVVWKH8QLWHG6WDWHV6SHFLILFDOO\$+,REWDLQVSUHVFULSWLRQ

GUXJVIRUSURGXFWLRQDQLPDOVIURPPDQXIDFWXUHUVIRUIXUWKHUGLVWULEXWLRQWRYHWHULQDULDQVIDUPV

IHHGORWVDQGRWKHUGLVWULEXWLRQIDFLOLWLHV

                   7KH)RRGDQG'UXJ$GPLQLVWUDWLRQ ³)'$´ RIWKH8QLWHG6WDWHV'HSDUWPHQWRI

+HDOWKDQG+XPDQ6HUYLFHVUHJXODWHVWKHGLVWULEXWLRQDQGODEHOLQJRIDOOGUXJVLQFOXGLQJDQLPDO

GUXJVVKLSSHGRUUHFHLYHGLQLQWHUVWDWHFRPPHUFHWKURXJKHQIRUFHPHQWRIWKH)HGHUDO)RRG

'UXJDQG&RVPHWLF$FW86&et seq. ³)'&$´ 9HWHULQDU\SUHVFULSWLRQGUXJVDUH

GUXJVLQWHQGHGIRUXVHE\DQLPDOVWKDWEHFDXVHRIWKHLUWR[LFLW\RURWKHUSRWHQWLDOLW\IRUKDUPIXO
Information
United States v. Animal Health International, Inc.
                                                       Page 1 of 7
 Case 1:20-cr-00007-JPJ-PMS Document 3 Filed 02/11/20 Page 2 of 7 Pageid#: 4




HIIHFWRUWKHPHWKRGRIWKHLUXVHRUWKHFROODWHUDOPHDVXUHVQHFHVVDU\IRUWKHLUXVHDUHQRWVDIH

IRUDQLPDOXVHH[FHSWXQGHUWKHSURIHVVLRQDOVXSHUYLVLRQRIDOLFHQVHGYHWHULQDULDQ86&

 I  $ 

                   8QGHUWKH)'&$DGUXJLVPLVEUDQGHGLIDPRQJRWKHUWKLQJVLWVODEHOLQJGRHV

QRWEHDU³DGHTXDWHGLUHFWLRQVIRUXVH´86& I  $GHTXDWHGLUHFWLRQVIRUXVHLV

GHILQHGDV³GLUHFWLRQVXQGHUZKLFKWKHlaymanFDQXVHDGUXJVDIHO\DQGIRUWKHSXUSRVHVIRU

ZKLFKLWLVLQWHQGHG´&)5 HPSKDVLVDGGHG 3UHVFULSWLRQYHWHULQDU\GUXJVE\

GHILQLWLRQFDQRQO\VDIHO\EHXVHGXQGHUWKHSURIHVVLRQDOVXSHUYLVLRQRIDOLFHQVHGYHWHULQDULDQ

DQGWKHUHIRUHWKH\PXVWTXDOLI\IRUDQH[HPSWLRQWRWKLVUHTXLUHPHQWLQRUGHUWRPRYHLQ

LQWHUVWDWHFRPPHUFH7KHVHH[HPSWLRQVDUHVHWRXWLQ&)53DUW6XESDUW'

 ³([HPSWLRQVIURP$GHTXDWH'LUHFWLRQVIRU8VH´ 

                   9HWHULQDU\SUHVFULSWLRQGUXJVDUHH[HPSWIURPWKHUHTXLUHPHQWWKDWWKHLUODEHOLQJ

FRQWDLQDGHTXDWHGLUHFWLRQVIRUXVHLIWKH\PHHWDOOHQXPHUDWHGFRQGLWLRQVLQFOXGLQJWKDWWKH\EH

GLVWULEXWHGWKURXJKDFORVHGVXSSO\FKDLQLQZKLFKHYHU\HQWLW\WKDWSRVVHVVHVDSUHVFULSWLRQGUXJ

PXVWKDYHOHJDODXWKRUL]DWLRQWRGRVRSee&)5 D   DYHWHULQDU\SUHVFULSWLRQ

GUXJPXVWEHLQWKHSRVVHVVLRQRIDSHUVRQODZIXOO\HQJDJHGLQWKHPDQXIDFWXUHWUDQVSRUWDWLRQ

VWRUDJHRUZKROHVDOHGLVWULEXWLRQRIGUXJVDUHWDLOSKDUPDF\RURWKHUSHUVRQDXWKRUL]HGXQGHU

VWDWHODZWRGLVSHQVHYHWHULQDU\SUHVFULSWLRQGUXJVRUDOLFHQVHGYHWHULQDULDQIRUXVHLQWKH

FRXUVHRIKLVSURIHVVLRQDOSUDFWLFH 0RUHRYHUWKHYHWHULQDU\SUHVFULSWLRQGUXJPXVWEH

GLVSHQVHGLQDFFRUGDQFHZLWK86& I LHSXUVXDQWWRDODZIXORUGHURIDOLFHQVHG

YHWHULQDULDQLQWKHFRXUVHRIWKHYHWHULQDULDQ¶VSURIHVVLRQDOSUDFWLFH86& I   

&)5 D  



Information
United States v. Animal Health International, Inc.
                                                     Page 2 of 7
 Case 1:20-cr-00007-JPJ-PMS Document 3 Filed 02/11/20 Page 3 of 7 Pageid#: 5




                   7KH)'&$¶VUHVWULFWLRQVRQYHWHULQDU\SUHVFULSWLRQGUXJVDUHQRWSULPDULO\WR

SURWHFWDQLPDOVIURPWKHSRWHQWLDOKDUPVRISUHVFULSWLRQGUXJVEXWDUHWRSURWHFWWKHKXPDQIRRG

VXSSO\IURPXQVDIHGUXJUHVLGXHVLQWKHHGLEOHWLVVXHVRIDQLPDOVVROGIRUVODXJKWHU&RPPRQ

FDXVHVRILOOHJDOUHVLGXHVLQFOXGH  H[FHHGLQJWKHGUXJ¶VDSSURYHGGRVH  XVLQJDVKRUWHU

ZLWKGUDZDOSHULRGWKDQZKDWLVVWDWHGRQWKHGUXJ¶VODEHO LIDKLJKHUWKDQDSSURYHGGRVHLV

JLYHQWKHODEHOHGZLWKGUDZDOSHULRGPD\QRWEHHQRXJKWRDOORZWKHGUXJLQWKHHGLEOHWLVVXHVWR

GHSOHWHWROHYHOVWKDWDUHDWRUEHORZWKHWROHUDQFH   XVLQJDGUXJLQDQH[WUDODEHOPDQQHU IRU

LQGLFDWLRQVDQGGRVDJHVRXWVLGHWKHDSSURYHGODEHOLQJ ZLWKRXWDYHWHULQDULDQ¶VLQYROYHPHQW  

JLYLQJDGUXJQRWDSSURYHGIRUWKDWVSHFLHVDQG  XVLQJDQXQDSSURYHGURXWHRIDGPLQLVWUDWLRQ

'UXJUHVLGXHVLQWKHQDWLRQ VGUXJVXSSO\DUHFRQFHUQLQJEHFDXVH  WKH\PD\FRQWULEXWHWR

DQWLELRWLFUHVLVWDQFHLQWKHKXPDQSRSXODWLRQUHQGHULQJKXPDQGUXJVOHVVHIIHFWLYHWRWUHDW

KXPDQGLVHDVHDQGFRQWULEXWLQJWRWKHPXWDWLRQVRI³VXSHUEXJV´DQG  WKH\PD\FDXVHDOOHUJLF

UHDFWLRQVLQLQGLYLGXDOVZLWKFHUWDLQGUXJDOOHUJLHV

                   &HUWDLQOHJDF\FXVWRPHUVRI$+,QDPHO\0DUOLQ:HEEDQG%LOO\.*URFHZHUH

QRWSURSHUO\OLFHQVHGWRUHFHLYHWUDQVSRUWVWRUHGLVWULEXWHRUGLVSHQVHYHWHULQDU\SUHVFULSWLRQ

GUXJVLQWKH&RPPRQZHDOWKRI9LUJLQLDIURP-DQXDU\WKURXJK$SULO

                   :HEEZDVWKHVWRUHPDQDJHURIDFRRSHUDWLYHLQ+LOOVYLOOH9LUJLQLD7KH

FRRSHUDWLYHZDVQHLWKHUDOLFHQVHGZKROHVDOHUDOLFHQVHGSKDUPDF\QRUDOLFHQVHGYHWHULQDU\

FOLQLF:HEERSHUDWHGDVLGHEXVLQHVVIURPWKHFRRSHUDWLYH¶VORFDWLRQLQZKLFKKHLOOHJDOO\

FLUFXPYHQWHGWKH)'$¶VUHJXODWLRQRIYHWHULQDU\SUHVFULSWLRQGUXJVE\LOOHJDOO\REWDLQLQJIURP

%LOO\.*URFHDQG$+,DQGUHVHOOLQJYHWHULQDU\SUHVFULSWLRQGUXJVXVLQJXQODZIXOSUHVFULSWLRQV

ZULWWHQE\DYHWHULQDULDQZKRZDVOLFHQVHGLQ7HQQHVVHHEXWZKRZDVQRWSURSHUO\OLFHQVHGWR



Information
United States v. Animal Health International, Inc.
                                                     Page 3 of 7
 Case 1:20-cr-00007-JPJ-PMS Document 3 Filed 02/11/20 Page 4 of 7 Pageid#: 6




SUDFWLFHYHWHULQDU\PHGLFLQHLQ9LUJLQLDDQGZKRGLGQRWKDYHDYHWHULQDULDQSDWLHQWUHODWLRQVKLS

ZLWKWKHDQLPDOVLQTXHVWLRQ7KDWYHWHULQDULDQGLHGLQ

                   *URFHZDVQHLWKHUDOLFHQVHGZKROHVDOHUDOLFHQVHGSKDUPDF\QRUDOLFHQVHG

YHWHULQDU\FOLQLF*URFHRSHUDWHGDQXQOLFHQVHGYHWHULQDU\SUHVFULSWLRQGUXJGLVWULEXWLRQ

EXVLQHVV*URFHZRUNHGZLWKWKHVDPHYHWHULQDULDQDVGLG:HEE

                   :HEEDQG*URFHREWDLQHGYHWHULQDU\SUHVFULSWLRQGUXJVIURP$+,LQLQWHUVWDWH

FRPPHUFHZLWKRXWYDOLGSUHVFULSWLRQVDQGRQPDQ\RFFDVLRQVZLWKQRSUHVFULSWLRQDWDOO

                  2Q$SULOWKHJRYHUQPHQWH[HFXWHGVHDUFKZDUUDQWVDWORFDWLRQVLQ

9LUJLQLDDQG7HQQHVVHHDVVRFLDWHGZLWK*URFHDQG:HEE,QDQGUHVSHFWLYHO\*URFH

DQG:HEESOHGJXLOW\WRLOOHJDOO\FRQVSLULQJWRGHIUDXGWKH)'$E\REWDLQLQJDQGGLVWULEXWLQJ

YHWHULQDU\SUHVFULSWLRQGUXJVIURP-XO\WKURXJK$SULOLQDPDQQHUWKDW

FLUFXPYHQWHGWKH)'$¶VUHJXODWLRQRIYHWHULQDU\SUHVFULSWLRQGUXJV

                  *URFHDQG:HEEZHUHOHJDF\FXVWRPHUVRIDPRQJRWKHUV/H[WURQDQG:DOFR

DQGFRQWLQXHGWREHFXVWRPHUVDIWHUWKHFRPSDQLHVPHUJHGWRIRUP$+,LQXQWLO0D\

1HLWKHU/H[WURQ:DOFRQRU$+,SHUIRUPHGDGHTXDWHFXVWRPHUGLOLJHQFHSURFHVVHVQRU

DGHTXDWHO\WUDLQHGVDOHVUHSUHVHQWDWLYHVWRUDLVHTXHVWLRQVUHJDUGLQJ*URFH¶V:HEE¶VRUWKH

YHWHULQDULDQ¶VDFWLYLWLHVLQ9LUJLQLDDQG7HQQHVVHH)RUH[DPSOH*URFHRSHUDWHGDEXVLQHVVWKDW

VWRUHGDQGGLVWULEXWHGYHWHULQDU\SUHVFULSWLRQGUXJVRXWRIDVWRUHIURQWFDOOHG³*RLQ¶3RVWDO´DQG

KLVSHUVRQDOUHVLGHQFH1HLWKHURIWKRVHORFDWLRQVUHVHPEOHGDYHWHULQDULDQHVWDEOLVKPHQWDQG

VKRXOGKDYHUDLVHGTXHVWLRQVIRUVDOHVUHSUHVHQWDWLYHVZKRSHUVRQDOO\YLVLWHGWKHP$IWHU

OHDUQLQJRIVHDUFKZDUUDQWVH[HFXWHGRQHDFKRIWKHFXVWRPHUV¶ORFDWLRQV$+,WRRNVRPHVWHSVWR

EORFNWKHVDOHRIYHWHULQDU\SUHVFULSWLRQGUXJVWRWKHVHFXVWRPHUVRQ0D\



Information
United States v. Animal Health International, Inc.
                                                     Page 4 of 7
 Case 1:20-cr-00007-JPJ-PMS Document 3 Filed 02/11/20 Page 5 of 7 Pageid#: 7




                  )XUWKHUPRUHEHWZHHQ-DQXDU\DQG0D\$+,GLGQRWPDLQWDLQWKH

SURSHUOLFHQVHVWRVKLSIURPLWV0HPSKLV7HQQHVVHHIDFLOLW\LQWR9LUJLQLDRUIURPLWV:ROFRWW

,QGLDQDIDFLOLW\LQWR9LUJLQLDRU7HQQHVVHHEXWGHVSLWHWKLVGHILFLHQF\VKLSSHGSURGXFWVIURP

WKRVHORFDWLRQVWR9LUJLQLDDQG7HQQHVVHH

                  $OOYHWHULQDU\SUHVFULSWLRQGUXJVGLVWULEXWHGE\$+,WR*URFHDQG:HEEZHUH

PLVEUDQGHGEHFDXVHQHLWKHUUHFLSLHQWZDVOLFHQVHGWRSRVVHVVRUGLVWULEXWHYHWHULQDU\

SUHVFULSWLRQGUXJVDQGWKHSUHVFULELQJYHWHULQDULDQZDVQRWSURSHUO\OLFHQVHGWRSUDFWLFH

YHWHULQDU\PHGLFLQHLQ9LUJLQLDDQGFRQVHTXHQWO\QRQHRIWKHGUXJVKHFDXVHGWREHGLVSHQVHG

ZHUHSUHVFULEHGSXUVXDQWWRODZIXORUGHUV

                  )URPWKHLOOHJDOVKLSPHQWVWRDQGRQEHKDOIRI*URFHDQG:HEE$+,UHFHLYHG

 VHYHQPLOOLRQIRXUKXQGUHGWZHQW\VHYHQWKRXVDQGQLQHKXQGUHGWZHQW\HLJKW

GROODUV DQGPDGHDSURILWRI ILYHKXQGUHGILIW\HLJKWWKRXVDQGWKUHHKXQGUHGQLQH

GROODUV E\XQODZIXOO\GLVWULEXWLQJYHWHULQDU\SUHVFULSWLRQGUXJVWRRURQEHKDOIRI*URFHDQG

:HEE

                  )URPWKURXJKRQRUDERXW$+,FDXVHGDGGLWLRQDOPLVEUDQGHG

YHWHULQDU\SUHVFULSWLRQGUXJVKLSPHQWVWREHPDGHWKURXJKRXWWKH8QLWHG6WDWHVE\GLVWULEXWLQJ

YHWHULQDU\SUHVFULSWLRQGUXJVIURPLWVZKROHVDOHORFDWLRQVGLUHFWO\WRHQGXVHUVLQVWDWHVZKHUH

VXFKVKLSPHQWVZHUHLOOHJDODQGLQVRPHLQVWDQFHVE\VKLSSLQJYHWHULQDU\SUHVFULSWLRQGUXJVWR

ORFDWLRQVLQVWDWHVLQZKLFK$+,GLGQRWKDYHOHJDODXWKRULW\WRPDNHVXFKVKLSPHQWV$+,

REWDLQHGQRWOHVVWKDQ IRUW\VL[PLOOLRQHLJKWKXQGUHGWZRWKRXVDQGWZRKXQGUHG

WKUHHGROODUV IURPVXFKVKLSPHQWV,WVSURILWVIURPVXFKVKLSPHQWVZHUHDVPDOOSHUFHQWDJHRI

WKHDPRXQWUHFHLYHG

                                                     &281721(

Information
United States v. Animal Health International, Inc.
                                                      Page 5 of 7
 Case 1:20-cr-00007-JPJ-PMS Document 3 Filed 02/11/20 Page 6 of 7 Pageid#: 8




                   ,QWURGXFWLRQRI0LVEUDQGHG'UXJVLQWR,QWHUVWDWH&RPPHUFH
                            86& D  D  DQG I  
                                                    
           7KH8QLWHG6WDWHV$WWRUQH\FKDUJHVWKDW

                  7KH,QIRUPDWLRQLVUHDOOHJHGDQGLQFRUSRUDWHGE\UHIHUHQFHLQWRWKLV&RXQW

                  )URPDERXW-DQXDU\WR$SULOLQWKH:HVWHUQ'LVWULFWRI9LUJLQLD

$QLPDO+HDOWK,QFRUSRUDWHG ³$+,´ LQWURGXFHGDQGGHOLYHUHGIRULQWURGXFWLRQDQGFDXVHGWKH

LQWURGXFWLRQDQGGHOLYHU\IRULQWURGXFWLRQLQWRLQWHUVWDWHFRPPHUFHRIYHWHULQDU\SUHVFULSWLRQ

GUXJVWKDWZHUHPLVEUDQGHGLQWKDWWKHGUXJV¶ODEHOLQJGLGQRWEHDUDGHTXDWHGLUHFWLRQVIRUWKH

XVHRIVXFKGUXJV

                  7KHRIIHQVHFRQGXFWLQFOXGHGEXWZDVQRWOLPLWHGWRWKHIROORZLQJ

                  D     $+, GLVWULEXWHG YHWHULQDU\ SUHVFULSWLRQ GUXJV GLUHFWO\ WR %LOO\ .
           *URFHDQG0DUOLQ:HEEQRWZLWKVWDQGLQJWKDWQHLWKHU*URFHQRU:HEEZDVOHJDOO\
           DXWKRUL]HGWRSRVVHVVRUGLVWULEXWHWKHGUXJVDQG
                  
                  E     $+,GLVWULEXWHGYHWHULQDU\SUHVFULSWLRQGUXJVWRFXVWRPHUVRI%LOO\
           .*URFHDQG0DUOLQ:HEEZLWKRXWDODZIXOSUHVFULSWLRQKDYLQJEHHQLVVXHGIRU
           WKRVHGUXJV
           
            6LQFH WKHVH YHWHULQDU\ SUHVFULSWLRQ GUXJV ZHUH QRW ODZIXOO\ GLVWULEXWHG RU

SUHVFULEHGWKH\IDLOHGWRTXDOLI\IRUWKHH[HPSWLRQIURPWKHUHTXLUHPHQWWKDWWKH\EHDUODEHOLQJ

FRQWDLQLQJDGHTXDWHGLUHFWLRQVIRUOD\XVH$OOLQYLRODWLRQRI7LWOH8QLWHG6WDWHV&RGH6HFWLRQV

 D  D  DQG I  

                                                 127,&(2))25)(,785(

                  8SRQFRQYLFWLRQRIWKHRIIHQVHDOOHJHGLQWKLV,QIRUPDWLRQ$+,VKDOOIRUIHLWWRWKH

8QLWHG6WDWHVYHWHULQDU\SUHVFULSWLRQGUXJVWKDWZHUHPLVEUDQGHGRUEHFDPHPLVEUDQGHGDVDUHVXOW

RI$+,¶VFRQGXFWSXUVXDQWWR86&DQG86&




Information
United States v. Animal Health International, Inc.
                                                       Page 6 of 7
Case 1:20-cr-00007-JPJ-PMS Document 3 Filed 02/11/20 Page 7 of 7 Pageid#: 9
